Case 3:15-cr-01820-GPC     Document 33      Filed 06/29/15   PageID.60    Page 1 of 2



 1
 2
 3
 4
 5
 6                        UNITED STATES DISTRICT COURT
 7                      SOUTHERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,                      CASE NO. 2:15-mj-8565-PCL-GPC-2
 9                                   Plaintiff,     ORDER DENYING DEFENDANT’S
            v.                                      MOTION TO STAY
10
                                                    [ECF No. 27]
11
     RITA JOAN BRIDGES,
12
                                  Defendant.
13
14         On June 26, 2015, Defendant Rita Joan Bridges (“Bridges”) filed an appeal of
15 Magistrate Judge Lewis’s imposition of drug testing as a condition of pretrial release.
16 (ECF No. 25; see also ECF No. 28 (Order Setting Conditions of Release).) Also on
17 June 26, 2015, Defendant filed an Emergency Motion to Stay the Magistrate Judge’s
18 Order Modifying Condition of Pre-Trial Release. (ECF No. 27.) The government has
19 filed an opposition to Bridges’s motion to stay. (ECF No. 32.)
20         To obtain a stay pending appeal, the moving party bears the burden of
21 demonstrating that: (1) there are “serious questions going to the merits”; (2) “a balance
22 of hardships tips sharply towards the [moving party]”; (3) “there is a likelihood of
23 irreparable injury” in the absence of a stay; and (4) a stay “is in the public interest.”
24 Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1134–35 (9th Cir. 2001). As
25 the Ninth Circuit has since clarified regarding whether there exist “serious questions
26 going to the merits,” a party moving for a stay “must show, at a minimum, that she has
27 a substantial case for relief on the merits.” Leiva-Perez v. Holder, 640 F.3d 962, 968
28 (9th Cir. 2011).

                                                  -1-                       2:15-mj-8565-PCL-GPC-2
Case 3:15-cr-01820-GPC     Document 33      Filed 06/29/15   PageID.61    Page 2 of 2



 1         With regards to the merits, Bridges relies on United States v. Scott, 450 F.3d 863
 2 (9th Cir. 2005). (ECF No. 27-1, at 3–5.) Bridges argues that: (1) “there is no evidence
 3 that the items found in Ms. Bridges’s home belonged to her,” (2) Judge Lewis
 4 “acknowledged that Ms. Bridges’s [sic] shares her home with at least one other person,
 5 and the Complaint alleges that two other individuals had access to her residence,” and
 6 (3) “the government presented no evidence that Ms. Bridges’s alleged drug use would
 7 affect her ability to appear in court as required.” (ECF No. 27-1, at 3–4.) The
 8 government responds that Judge Lewis “plainly had probable cause sufficient to
 9 impose pre-trial drug testing” because “[f]ederal agents executing a search warrant
10 discovered drugs and drug paraphernalia in Bridges’s home, which at the time of the
11 search was occupied only by Bridges.” (ECF No. 32, at 1.)
12         As the Court previously noted in its order requiring a response, “Bridges has not
13 presented any evidence outside of citations to the complaint, . . . even though a hearing
14 was held before Magistrate Judge Lewis. (ECF No. 30, at 1; see also ECF No. 27-1, at
15 2, 4 (citing ECF No. 1).) Because Bridges has presented no evidence to support her
16 claim that there are “serious questions going to the merits,” such as a transcript of the
17 hearing before Judge Lewis,1 the Court finds that Bridges has failed to meet even the
18 minimal standard articulated in Leiva-Perez. Accordingly, the Court DENIES
19 Bridges’s Motion to Stay, (ECF No. 27.)
20         IT IS SO ORDERED.
21
22 DATED: June 29, 2015
23
                                              HON. GONZALO P. CURIEL
24                                            United States District Judge
25
26
27         1
          The Court notes that while Bridges argues that the drug testing condition “was
   added [] without notice to defense counsel,” she admits that her counsel “objected to
28 the modification” and “argued that the government failed to present any evidence that
   Ms. Bridges owned the alleged contraband.” (ECF No. 27-1, at 1–2.)
                                              -2-                           2:15-mj-8565-PCL-GPC-2
